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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                    )
                                             )      ORDER AMENDING
               Plaintiff,                    )      CONDITIONS OF RELEASE
                                             )
       vs.                                   )
                                             )
Amber Lee Herd,                              )
                                             )      Case No. 1:15-cr-055
               Defendant.                    )


       On March 24, 2015, the court released defendant Amber Lee Herd subject to a number of

conditions including the condition that she not have contact with the codefendants in the above-

captioned case. The court was subsequently advised that Herd is engaged to Defendant Ronald

Gage Newhauser. The Government advised that it does not object to Herd and Gage being permitted

to have contact with one another. Accordingly, the court ORDERS Defendant Herd’s release

condition prohibiting her from contacting codefendants AMENDED to provide that:

       Defendant shall not knowingly or intentionally have any direct or indirect contact
       with codefendants except that defendant may have contact with Ronald Gage
       Newhauser and that counsel for the defendant, or counsel’s agent or authorized
       representative, may have such contact with such person(s) as is necessary in the
       furtherance of the defendant’s legal defense.

All other previously imposed conditions of release remain in effect.

       Dated this 25th day of March, 2015.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court
